                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                                5:07CV90-1-V
                                5:03CR4-20-V




PHILLIP TYRONE MORRISON,        )
                                )
           Petitioner,          )
                                )
vs.                             )                         ORDER
                                )
UNITED STATES OF AMERICA,       )
                                )
           Respondent.          )
________________________________)


       THIS MATTER comes before the Court upon Petitioner’s Motion to Vacate, Set Aside,

or Correct Sentence (Doc. No. 1), filed August 3, 2007; Respondent’s Motion for Summary

Judgment (Doc. Nos. 10 and 11), filed December 4, 2007; and Petitioner’s Traverse to

Respondent’s Motion for Summary Judgment (Doc. No. 16), filed January 7, 2008.

       For the reasons set forth below, and in Respondent’s Motion for Summary Judgment,

Respondent’s Motion for Summary Judgment is granted and Petitioner’s Motion to Vacate, Set

Aside, or Correct Sentence is dismissed.

                                 PROCEDURAL HISTORY

       Petitioner was named in a Superceding Indictment on January 30, 2004. (Crim. Case No.

5:03cr4: Doc. No. 283.) A Third Superseding Bill of Indictment was filed on April 26, 2004,

and a Fourth Superceding Bill of Indictment was filed by the Government on June 29, 2004.

(Crim. Case No. 5:03cr4: Doc. No. 283, 323, 340.) The Fourth Superseding Bill of Indictment

was the ultimate charging instrument upon which Petitioner, and co-defendants Roderick




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Williams (“Williams”) and Leobardo Martinez (“Martinez”), were tried. The Fourth

Superseding Bill of Indictment charged Petitioner in Counts One, Six and Seven for conspiracy

to possess with the intent to distribute five kilograms or more of cocaine and fifty grams or more

of cocaine base (Count One), possession with the intent to distribute 500 or more grams of

cocaine (Count Six), and for during and in relation to a drug trafficking crime using and carrying

a firearm and in furtherance of a drug trafficking crime possessing a firearm (Count Seven) all in

violation of 21 U.S.C. § 846, 21 U.S.C. § 841 and 18 U.S.C. § 2, and 18 U.S.C. § 924 (c) (1) and

18 U.S.C. § 2.

       On June 3, 2004, the Government filed its Second Supplemental Rule 404(b) Notice

informing Petitioner that the Government intended to offer evidence of episodes involving his

possession with intent to distribute controlled substances on or about July 14, 1993, and July 17,

1993, as evidence of Petitioner’s knowledge, intent, or absence of mistake. (Crim. Case No.

5:03cr4: Doc. No. 329.) On July 7, 2004, the Government filed an § 851 Notice informing the

Petitioner of its intent to seek enhanced penalties based upon two prior felony drug convictions.

(Crim. Case No. 5:03cr4: Doc. No. 346.) Trial commenced that same day. At the close of the

Government’s case, Petitioner moved to dismiss all three charges against him and the Court

denied the motion. (Crim. Case No. 5:03cr4: 7/20/2004 Tr. Trans. at 2349.) On July 22, 2004,

the jury returned a verdict of guilty for conspiracy to possess with intent to distribute cocaine

and cocaine base; for possession with intent to distribute cocaine base and aiding and abetting

same; and for using and carrying a firearm during and in relation to a drug trafficking crime and

aiding and abetting same. (Crim. Case No. 5:03cr4: Doc. No. 365.) On January 10, 2005, this

Court sentenced Petitioner to life imprisonment on the drug conspiracy and possession charges

and to a consecutive sixty month term of imprisonment on the firearm charge. (Crim. Case No.

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5:03cr4: Doc. No. 477.) Judgment was entered on February 3, 2005. (Crim. Case No. 5:03cr4:

Doc. No. 477.)

       Petitioner timely filed a Notice of Appeal. (Crim. Case No. 5:03cr4: Doc. No. 480.) On

appeal, Petitioner challenged the admissibility of two pieces of evidence under Rule 404(b). In

addition, Petitioner argued that the enhancement of his sentence using a prior conviction that was

committed during the course of the conspiracy violated both 21 U.S.C. § 841 and his rights

guaranteed by the Double Jeopardy Clause. (Crim. Case No. 5:03cr4: Doc. No. 703.) On July

19, 2006, the United States Court of Appeals for the Fourth Circuit affirmed Petitioner’s

conviction and sentence. United States v. Martinez, 190 Fed. App’x 321 (4th Cir. 2006). On

August 13, 2007, Petitioner timely filed the instant Motion to Vacate, Set Aside, or Correct

Sentence. (Doc. No. 1.)

                                           ANALYSIS

I. INEFFECTIVE ASSISTANCE OF COUNSEL

       A. Standard of Review

       Petitioner’s ineffective assistance of counsel claims are governed by the holding in

Strickland v. Washington, 466 U.S. 668, 687-91 (1984). In Strickland, the Supreme Court held

that in order to succeed on an ineffective assistance of counsel claim, a petitioner must establish

that counsel’s performance was constitutionally defective to the extent it fell below an objective

standard of reasonableness, and that he was prejudiced thereby, that is, there is a reasonable

probability that but for the error, the outcome would have been different. In making this

determination, there is a strong presumption that counsel’s conduct was within the wide range of

reasonable professional assistance. Id. at 689; Fields v. Attorney General of Md., 956 F.2d 1290,

1297-99 (4th Cir.), cert. denied, 474 U.S. 865 (1995). Moreover in analyzing counsel’s

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performance a court should be mindful that “effective representation is not synonymous with

errorless representation,” Springer v. Collins, 586 F.2d 39, 332 (4th Cir. 1978), and that “the

Constitution entitles a criminal defendant to a fair trial, not a perfect one.” Delaware v. Van

Ardsall, 475 U.S. 673, 681 (1986). A petitioner bears the burden of proving Strickland

prejudice. Fields, 956 F.2d at 1297. If a petitioner fails to meet this burden, a “reviewing court

need not consider the performance prong.” Id. at 1290.

       B. Career Offender Designation

       Petitioner alleges that his counsel was ineffective for failing to challenge his designation

as a career offender because his prior state court convictions are invalid.1

       Petitioner never specifies precisely why his state court convictions were invalid. The

Fourth Circuit has made it clear that “[u]nsupported conclusory allegations do not entitle habeas

petitioner to an evidentiary hearing.” Nickerson v. Lee, 971 F.2d 1125, 1136 (4th Cir. 1992),

cert. denied, 507 U.S. 923 (1993), abrog’n on other grounds recog’d, Yeatts v. Angelone, 166

F.3d 255 (4th Cir. 1999). Rather, a petitioner must come forward with some evidence that the

claim asserted might have merit. Id. Because Petitioner has failed to provide any factual basis

beyond his conclusory assertion, he has failed to establish that his counsel’s performance was

deficient or that he was prejudiced and this claim is dismissed.

       Moreover, the Court notes that Petitioner was not sentenced as a career offender.



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         To the extent Petitioner intended to raise this as a free standing erroneous career
offender claim, such claim would be procedurally defaulted as he did not raise this claim on
direct appeal. See Bousley v. United States, 523 U.S. 614, 621-22 (1998)(habeas review is an
extraordinary remedy and will not be allowed to do service for an appeal). Cause and prejudice
may excuse such default. To the extent Petitioner asserts ineffective assistance of counsel as
cause to excuse his procedural default the analysis would fail for the reasons set forth in this
section.

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Petitioner’s sentence was, however, enhanced, based upon his two prior felony drug convictions.

See 21 U.S.C. § 841(b)(1)(A). However, because the two prior felony drug convictions used to

enhance his sentence occurred more than five years prior to the date of the Information alleging

such prior convictions, § 851's limitation period he was precluded from challenging them at

sentencing. 21 U.S.C. § 851(e)(a defendant may not “challenge the validity of any prior

conviction alleged under this section which occurred more than five years before the date of the

information alleging such prior convictions.”) As such his counsel was not ineffective for failing

to challenge these convictions and Petitioner was not prejudiced by his failure to do so.

        Finally, the Court notes that to the extent Petitioner intended to argue that his counsel

should have challenged his sentence enhancement on Double Jeopardy grounds his claim fails

because, at a minimum, he cannot establish prejudice. That is, because he raised this substantive

claim on direct appeal and the Fourth Circuit concluded the claim had no merit, he cannot

establish he was prejudiced. See Boeckenhaupt v. United States, 537 F.2d 1182, 1183 (4th Cir.

1976)(“[O]nce a matter has been decided adversely to a defendant on direct appeal it cannot be

relitigated in a collateral attack under Section 2255.”). Consequently, this claim is dismissed on

that basis as well.

        C. Severance

        Petitioner also alleges that his counsel was ineffective for failing to file a motion to sever

Petitioner’s trial from his co-defendants’ trial. Petitioner asserts that his counsel knew that

Petitioner and his co-defendants would present antagonistic defenses.

        Rule 8(b) of the Federal Rules of Criminal Procedure sets forth that “defendants may be

charged in the same indictment if they are alleged to have participated in the same act or

transaction or in the same series of acts or transactions constituting an offense or offenses.”

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Assuming proper joinder in an indictment, it is well-settled that “[b]arring special circumstances,

individuals indicted together should be tried together.” United States v. Brugman, 655 F.2d 540,

542 (4th Cir. 1981). This presumption is particularly strong in conspiracy cases. United States v.

Harris, 498 F.3d 278, 291 (4th Cir. 2007). Severance is only required under Rule 14 when a

serious risk exists that a joint trail would compromise a specific trial right of one of the

defendants, or would prevent the jury from making a reliable judgment about guilt or innocence.

Zafiro v. United States, 506 U.S. 534, 537-38 (1993). Speculative allegations are insufficient to

require severance. United States v. Najjar, 300 F.3d 466, 473 (4th Cir. 2002). Moreover, the

presence of conflicting or antagonistic defenses, standing alone, is insufficient to require

severance. See Zafiro, 506 U.S. at 538; Najjar, 300 F.3d at 474; United States v. Spitler, 800

F.2d 1267, 1271 (4th Cir. 1986).

       Petitioner and his co-defendant were indicted together and therefore a strong presumption

existed that they should be tried together. Petitioner’s general claim that his counsel was

ineffective for failing to move to sever Petitioner’s criminal case from his co-defendant’s case

due to alleged, but unspecified, antagonistic defenses is simply insufficient to state a claim of

ineffective assistance of counsel. See Nickerson v. Lee, 971 F.2d 1125, 1136 (4th Cir. 1992)(“a

habeas petitioner must come forward with some evidence that the claim might have merit.

Unsupported conclusory allegations do not entitle a habeas petitioner to an evidentiary

hearing.”), abrog’n on other grounds recog’d, Yeatts v. Angelone, 166 F.3d 255 (4th Cir. 1999).

       D. Government Misconduct

       Petitioner also alleges that his counsel was ineffective for failing to challenge the




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Government’s misconduct.2 First, Petitioner asserts that his counsel was ineffective for failing to

“challenge the government’s misconduct in abusing the grand jury proceedings.” More

specifically, Petitioner alleges that the Government sought a Fourth Superceding Indictment in

order to avoid the speedy trial implications of failing to do so, where the Government sought the

Fourth Superceding Indictment 66 days after the Third Superceding Indictment.

       Petitioner’s claim fails because, at a minimum, he cannot establish that he was

prejudiced. That is, Petitioner cannot establish that a challenge on this basis would have been

successful because, even without the Fourth Superceding Indictment, no speedy trial violation

occurred.

       The Speedy Trial Act governs the time allowed between indictment and trial. 18 U.S.C.

§ 3161. More specifically, the Speedy Trial Act provides that, subject to specific delays which

are excluded, a defendant must be tried within seventy days of being indicted. The Third

Superceding Indictment was filed April 26, 2004. Consequently, the speedy trial clock started to

run on April 27, 2004. See United States v. Stoudenmire, 74 F.3d 60, 63 (4th Cir. 1996)(the

event that triggers the speedy trial clock is not included in the calculation). Without taking into

account the Fourth Superceding Indictment, the clock ran for approximately 37 days until June

2, 2004, when Petitioner’s co-defendant, Roderick Williams, filed a Motion to Suppress. See

United States v. Jarrell, 147 F.3d 315, 319 (4th Cir. 1998)(in a case involving several defendants



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         Again, to the extent Petitioner intended to raise free standing claims of prosecutorial
misconduct such claims would be procedurally defaulted as he did not raise them on appeal.
Claims that could have been, but were not, raised on direct review are procedurally defaulted.
See Bousley v. United States, 523 U.S. 614, 621-22 (1998)(habeas review is an extraordinary
remedy and will not be allowed to do service for an appeal). Cause and prejudice may excuse
such default. To the extent Petitioner asserts ineffective assistance of counsel as cause to excuse
his procedural default the analysis would fail for the reasons set forth in this section.

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time excludable for one defendant is excludable for all defendants); 18 U.S.C. §

3161(h)(1)(F)(all the time between the filing of any pretrial motion and “conclusion of the

hearing on, or other prompt disposition of, such motion” is excludable). The clock began to run

again on July 6, 2004, when at the conclusion of a hearing, the Court denied Petitioner’s co-

defendant’s motion to suppress. Petitioner’s trial began the next day. At the commencement of

trial approximately thirty-two days remained on Petitioner’s speedy trial clock. Consequently,

Petitioner’s counsel was not ineffective for failing to raise a speedy trial challenge and this claim

is dismissed.

       Second, Petitioner alleges that his counsel was ineffective for failing to challenge the

prosecutor’s intentional alteration of the Indictment after receipt from the Grand Jury but prior to

filing it. Petitioner provides no support for his contention that the prosecutor “willfully and

maliciously and intentionally altered the charging instrument to reflect that Andy Garcia was not

charged in . . . Count Five.” Indeed, Petitioner provides no specific facts to support his

conclusory assertion that the prosecutor unlawfully altered the Indictment in his case.

Petitioner’s conclusory claim fails to establish that his counsel’s performance was deficient or

that he was prejudiced. See Nickerson v. Lee, 971 F.2d 1125, 1136 (4th Cir. 1992)(“a habeas

petitioner must come forward with some evidence that the claim might have merit. Unsupported

conclusory allegations do not entitle a habeas petitioner to an evidentiary hearing.”), abrog’n on

other grounds recog’d, Yeatts v. Angelone, 166 F.3d 255 (4th Cir. 1999).

       Third, Petitioner alleges that his counsel was ineffective for failing to challenge the

prosecution’s use of invalid superceding indictments. In support of this claim Petitioner asserts

that there is nothing in the record to indicate that the grand jury even met on the dates the

superceding indictments were issued. Docket sheets do not reflect Grand Jury dates.

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Petitioner’s allegations fails to establish that his counsel’s performance was deficient or that

Petitioner was prejudiced.

       Fourth, Petitioner alleges that his counsel was ineffective for failing to challenge the

prosecution’s use of the false testimony of Andy Garcia,3 Tanesha Turner, and Freddie

Blackmon. Petitioner provides no specific evidence to establish that these witnesses testimony

was false. Moreover, Petitioner provides no facts to support a conclusion that the prosecution

knew these witnesses’ testimony was allegedly false. Petitioner has failed to establish that his

counsel’s performance was deficient or that he was prejudiced.

       E. DNA and Fingerprint Evidence

       Petitioner also alleges that his trial and appellate counsel were ineffective for failing to

“assert and use key evidence” including DNA and fingerprint evidence to establish Petitioner’s

innocence. Petitioner does not elaborate on this claim.

       A review of the trial transcript reveals that DNA from the crime scene was introduced at

trial which showed that blood from the narcotics robbery crime scene did not match Petitioner

but did match his co-defendant. Petitioner does not explain what precise evidence should have

been introduced. Plaintiff’s conclusory allegations are insufficient to state a claim. See

Nickerson v. Lee, 971 F.2d 1125, 1136 (4th Cir. 1992)(“a habeas petitioner must come forward

with some evidence that the claim might have merit. Unsupported conclusory allegations do not

entitle a habeas petitioner to an evidentiary hearing.”), abrog’n on other grounds recog’d, Yeatts

v. Angelone, 166 F.3d 255 (4th Cir. 1999).



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        The Court notes that Jorge Ortiz-Rojas is also known as “Andy Garcia” and as most
witnesses refer to this individual as Andy Garcia this Court will do so as well. (5:03cr4:
7/19/2004 Tr. Trans. 2138.)

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         F. Hearsay Arguments on Appeal

        Petitioner also alleges that his appellate counsel was ineffective for failing to argue on

appeal that the district court erred in admitting the hearsay testimony of Malik Mohammed,

Officer David Lizt, and Tanesha Michelle Turner. In support of his conclusory claim, Petitioner

attaches a few pages of testimony from each of these three witnesses. Petitioner does not even

attempt to specifically explain why this Court’s evidentiary rulings were incorrect. Nor does

Petitioner articulate how he was specifically prejudiced by his appellate counsel’s decision not to

raise this issue.

        The appellate standard of review of evidentiary decisions is deferential and to prevail an

appellant must establish that the district court acted arbitrarily and capriciously in admitting the

challenged testimony. See United States v. Moore, 27 F.3d 969, 974 (4th Cir. 1994)(recognizing

that the Fourth Circuit would find “discretion to have been abused only when the district court

acted ‘arbitrarily and irrationally.’”) Petitioner has not established that this Court acted

arbitrarily or capriciously.

        Moreover, even if this Court had erred, the error would be harmless as long as there was

sufficient other evidence of Petitioner’s guilt that the Fourth Circuit could conclude with “fair

assurance” that the error did not substantially affect the jury’s verdict. See United States v.

Johnson, No. 08-5098, 2010 WL 3307360, at * 4 (2010). Testimony at Petitioner’s trial

established his guilt as to all three counts. Witnesses testified that Petitioner made trips with

other members of the conspiracy to New York to purchase cocaine to resell in the Statesville

area. (Crim. Case. No. 5:03cr4: 7/16/2004 Tr. Trans. at 1673.) Testimony also established that

Petitioner, in conjunction with others sold cocaine and cocaine base in Statesville during the time

period of the conspiracy. (Crim. Case. No. 5:03cr4: 7/16/2004 Tr. Trans. at 1686-87, 1688;

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7/15/2004 Tr. Trans. at 1356-60; 1362, 1441-46; 7/19/2004 Tr. Trans. at 2146-48.) Garcia

testified that on July 25, 2002, Petitioner and Williams robbed him at gunpoint of the cocaine he

was going to sell them. (Crim. Case. No. 5:03cr4: 7/19/2004 Tr. Trans. at 2160-73.) Finally, at

least three witnesses testified that Petitioner carried a gun in connection with drug trafficking.

(Crim. Case. No. 5:03cr4: 7/15/2004 Tr. Trans. at 1360-61 and 7/16/2004 Tr. Trans. at 1687-88;

7/19/2004 Tr. Trans. at 2151.)

       G. Failure to Challenge Crack Cocaine Ratio

       Petitioner also alleges that his counsel was ineffective for failing to challenge the

increased penalties imposed for crack cocaine. Petitioner argues that Ninth Circuit precedent,

United States v. Hollis, 490 F.3d 1149 (9th Cir. 2007), requires that “crack,” as opposed to

cocaine base, be charged and found by the jury in order for a defendant to receive an enhanced

penalty under § 841(b). Petitioner also requests the right to preserve the right to argue the then

soon to be issued crack cocaine guideline amendment.4

       Petitioner’s argument fails to establish either deficient performance or prejudice. The

Ninth Circuit case relied upon by Petitioner does not carry precedential weight in this Circuit and

was issued after the conclusion of Petitioner’s direct appeal. As such, Petitioner’s appellate

counsel was not ineffective for failing to argue non-binding precedent that had not yet been

issued. Moreover, the Fourth Circuit has rejected the claim set forth by Petitioner. See United

States v. Ramos, 462 F.3d 329, 333-34 (4th Cir. 2006)(holding that statute punishing trafficking

in “cocaine base” regulates possession of any form of cocaine base). As Petitioner’s Indictment



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         Since Petitioner filed his Motion to Vacate, it has been determined that Amendment
706 (the Retroactive Crack Cocaine Amendment) had no impact on Petitioner’s sentence.
(Crim. Case. No. 5:03cr4: Doc. No. 827.)

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charged, and the jury specifically found, that the conspiracy involved cocaine base, Petitioner

properly received an enhanced penalty on that basis.5 (Crim. Case No. 5:03cr4: Doc. No. 365.)

As such, Petitioner suffered no prejudice as a result of his counsel’s failure to argue against this

issue.

          H. Aiding and Abetting Statute

          Petitioner also alleges that his counsel was ineffective for failing to challenge the

constitutionality of the aiding and abetting statute – 18 U.S.C. § 2. More specifically, Petitioner

asserts that his counsel should have challenged the constitutionality of the aiding and abetting

statute on the basis that this statute does not set out a specific penalty.

          Petitioner provides no law to support his contention that this statute is unconstitutional.

Indeed, this statute necessarily does not contain a penalty provision because it must be read in

conjunction with the underlying crime. Petitioner’s counsel was not deficient for failing to

challenge this statute and Petitioner has not established that he was prejudiced.

II. ACTUAL INNOCENCE/INSUFFICIENCY OF THE EVIDENCE

          Petitioner asserts that he is actually innocent of his drug conspiracy conviction, drug

possession with intent to distribute conviction, and using and carrying a gun during and in

relation to a drug trafficking crime conviction. In support of his contention Petitioner asserts

that the government presented insufficient evidence at his trial to support a finding that

Petitioner was involved in a drug conspiracy. In addition, Petitioner argues that the evidence

presented at trial established multiple conspiracies – not a single conspiracy. With regard to the



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          The Court also notes that the evidence at trial fully supported a conclusion that the type
of cocaine base at issue was indeed crack cocaine. (Crim. Case. No. 5:03cr4: 7/15/2004 Tr.
Trans. at 1359, 1362; 7/16/2004 Tr. Trans. at 1637 and 1688; 7/19/2004 Tr. Trans. at 2146-47.)

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gun conviction, Petitioner asserts that “this case offers no evidence that defendant Morrison

knowingly and intentionally aided, counselled {sic}, commanded, induced, or procured Rodney

Williams to use and carry a firearm to possess and distribute cocaine and cocaine base.”

       As an initial matter, neither of these arguments – insufficient evidence or multiple versus

singly conspiracy – support an actual innocence claim. Rather, both are legal arguments. To

succeed on an actual innocence claim a petitioner must show factual innocence, not simply legal

insufficiency of the evidence to support a conviction. See Bousley v. United States, 523 U.S.

614, 623 (1998). A petitioner must establish that “‘in light of all the evidence,’” “it is more

likely than not that no reasonable juror would have convicted him.” Id. A review of Petitioner’s

filings and the record itself makes it clear that he does not come close to meeting this burden.

       Taken as an insufficiency of the evidence claim, Petitioner’s argument fares no better.

To the extent his claim is asserted as a straight insufficiency of the evidence claim, it is

procedurally defaulted as this claim was not raised on direct appeal. Claims that could have

been, but were not, raised on direct review are procedurally defaulted. See Bousley v. United

States, 523 U.S. 614, 621-22 (1998)(habeas review is an extraordinary remedy and will not be

allowed to do service for an appeal). To the extent Petitioner’s Motion to Vacate is construed to

assert ineffective assistance of counsel as cause to excuse such default, he fails, as set forth

below, to establish the requisite deficient performance or prejudice.

       Trial testimony was introduced that amply supported each of Petitioner’s convictions.

For example, Ms. Turner testified that Petitioner along with Williams and others went to New

Jersey to purchase cocaine to sell in the Statesville area. (Crim. Case. No. 5:03cr4: 7/9/2004 Tr.

Trans. at 441.) She also testified that she had sold Petitioner drugs and that Petitioner was

involved in drug dealings with Williams and others. (Crim. Case. No. 5:03cr4: 7/9/2004 Tr.

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Trans. at 435-38.) Turner also testified that she had informed the investigating agent that

Petitioner and Williams were in the drug business. (Crim. Case. No. 5:03cr4: 7/12/2004 Tr.

Trans. at 588.) Mr. White testified that he made several trips to New York with Petitioner and

others to purchase drugs to sell in Statesville. (Crim. Case. No. 5:03cr4: 7/16/2004 Tr. Trans. at

1673.) Mr. White also testified that he observed Petitioner and Williams regularly standing in a

high drug trade area and observing Williams providing Petitioner with drugs. (Crim. Case. No.

5:03cr4: 7/16/2004 Tr. Trans. at 1686-87, 1688.) Mr. White also testified to witnessing

Petitioner in possession of a gun. (Crim. Case. No. 5:03cr4: 7/16/2004 Tr. Trans. at 1687-88.)

Mr. Blackmon testified that he and Petitioner sold drugs together and that they shared the same

customers and the same supplier. (Crim. Case. No. 5:03cr4: 7/15/2004 Tr. Trans. at 1356-60.)

In addition, Mr, Blackmon testified that he had seen Petitioner with guns. (Crim. Case. No.

5:03cr4: 7/15/2004 Tr. Trans. at 1360-61.) Mr. Blackmon also testified that he had observed

Williams supplying Petitioner with drugs to sell. (Crim. Case. No. 5:03cr4: 7/15/2004 Tr. Trans.

at 1362.) Mr. Blackmon also testified that Petitioner told him that he and Williams went to

Andy Garcia’s house to rob him of a half key or key of drugs. (Crim. Case. No. 5:03cr4:

7/15/2004 Tr. Trans. at 1368-69.) Andy Garcia testified that he regularly supplied Petitioner

and then Petitioner and Williams with cocaine. (Crim. Case. No. 5:03cr4: 7/19/2004 Tr. Trans.

at 2146-48.) Garcia also testified that he had witnessed both Petitioner and Williams with guns.

(Crim. Case. No. 5:03cr4: 7/19/2004 Tr. Trans. at 2151.) Garcia also testified that on July 25,

2002, Petitioner and Williams robbed him at gunpoint of the cocaine he was going to sell them.

(Crim. Case. No. 5:03cr4: 7/19/2004 Tr. Trans. at 2160-73.) The above testimony is more than

sufficient to support the jury’s decision to convict Petitioner on all three charges. Because ample

testimony at trial supported Petitioner’s convictions, Petitioner, at a minimum, was not

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prejudiced by his counsel’s failure to raise an insufficiency of the evidence claim on appeal.

        Petitioner also argues that the evidence at trial supported a finding of multiple

conspiracies rather than a single conspiracy. The question of “[w]hether there is a single

conspiracy or multiple conspiracies depends upon the overlap of key actors, methods, and

goals.” United States v. Strickland, 245 F.3d 368, 385 (4th Cir.2001) (internal quotation marks

omitted). “A single conspiracy exists where there is one overall agreement, or one general

business venture.” United States v. Leavis, 853 F.2d 215, 218 (4th Cir. 1988) (internal quotation

marks & citation omitted). As an initial matter, Petitioner’s assertion is too conclusory to

support his claim. See Nickerson v. Lee, 971 F.2d 1125, 1136 (4th Cir. 1992)(“a habeas

petitioner must come forward with some evidence that the claim might have merit. Unsupported

conclusory allegations do not entitle a habeas petitioner to an evidentiary hearing.”), abrog’n on

other grounds recog’d, Yeatts v. Angelone, 166 F.3d 255 (4th Cir. 1999). Moreover, the evidence

in the instant case demonstrated that the conspirators shared the same objective and goal –

distribution of cocaine and cocaine base for profit. They also shared the same methods –

transporting drugs from New York and other places to the Statesville, North Carolina area. In

addition, members of the conspiracy frequently used their own homes or vehicles to conduct

drug-related business. Consequently, Petitioner cannot, at a minimum, establish prejudice with

regard to this claim.

       Petitioner also alleges that the evidence was insufficient to support a finding that he aided

and abetted co-defendant Williams with regard to possession with intent to distribute cocaine

and cocaine base. More specifically, Petitioner alleges that no evidence was presented to

support a conclusion that he knowingly and intentionally aided co-defendant Williams with

regard to this charge.

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          The trial testimony supported a finding that on July 25, 2002, Petitioner possessed with

intent to distribute 500 or more grams of cocaine. Garcia testified that on July 25, 2002,

Petitioner and his co-defendant Williams as well as Chinto and Mole, Garcia’s cocaine suppliers,

were all present at Garcia’s apartment. (Crim. Case. No. 5:03cr4: 7/19/2004 Tr. Trans. at 2161.)

Garcia then testified that Williams stated that he and Petitioner wanted to purchase another

kilogram of cocaine. (Crim. Case. No. 5:03cr4: 7/19/2004 Tr. Trans. at 2164.) When the

suppliers bring the drugs into the apartment, Garcia testified that Petitioner pulled a gun and

Petitioner and Williams proceeded to grab the drugs and run from the apartment. (Crim. Case.

No. 5:03cr4: 7/19/2004 Tr. Trans. at 2170-73.) Such facts are clearly sufficient to support a

conviction for possession with intent to distribute more than 500 grams of cocaine. As such

Petitioner’s counsel was not ineffective for failing to challenge Petitioner’s conviction on this

basis.

          Petitioner also alleges that the evidence was insufficient to establish that he aided and

abetted Williams with regard to the § 924(c) charge. The pre-sentence report sets forth that on

July 25, 2002, Petitioner possessed a 10 mm handgun which he displayed when robbing several

Hispanic males. (Doc. No. 13 at ¶ 31.) At trial, Garcia testified at length regarding the drug

robbery on July 25, 2002. In his testimony he unequivocally stated that Petitioner possessed and

brandished a gun during the incident. (Crim Case No. 5:03cr4: 7/19/2004, Tr. Trans. at 2168-

2172, 2191, 2195.) Such testimony fully supports a § 924(c) conviction. Counsel was not

ineffective for failing to challenge Petitioner’s § 924(c) conviction on this basis. Nor was

Petitioner prejudiced as any such motion would have been denied.

          THEREFORE, IT IS HEREBY ORDERED that:

          1. Respondent’s Motion for Summary Judgment (Doc. No. 10) is GRANTED;

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       2. Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence (Doc. No. 1) is

DENIED and DISMISSED; and

       3. It is further ordered that pursuant to Rule 11(a) of the Rules Governing Section 2254

and Section 2255 Cases, this Court declines to issue a certificate of appealability as Petitioner

has not made a substantial showing of a denial of a constitutional right. 28 U.S.C. § 2253(c)(2);

Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy § 2253(c), a petitioner

must demonstrate that reasonable jurists would find the district court’s assessment of the

constitutional claims debatable or wrong)(citing Slack v. McDaniel, 529 U.S. 473, 484 (2000)).



                                                 Signed: September 17, 2010




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